      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 1 of 9 PageID 1




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 6

 7
                            UNITED STATES DISTRICT COURT
 8                           MIDDLE DISTRICT OF FLORIDA
 9
10      Laura Longwell,
11
                               Plaintiff,             Case No:
12

13              v.                                    COMPLAINT

14      Travel Industry Education                     DEMAND FOR JURY TRIAL
15      Services, LLC d/b/a
        Famtrips.travel,
16

17                       Defendant.
        ______________________________/
18        Plaintiff Laura Longwell (“Plaintiff”), by and through her undersigned
19
     counsel, for her Complaint against Defendant Travel Industry Education Services,
20

21   LLC d/b/a Famtrips.travel (“Defendant”) states and alleges as follows:
22
                                        INTRODUCTION
23
           1.        This action seeks to recover damages for copyright infringement.
24
           2.        Plaintiff herein creates photographic images and owns the rights to
25

26   these images which Plaintiff licenses for various uses including online and print
27
     publications.
28

                                                       1
                                            PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 2 of 9 PageID 2




 1         3.      Defendant owns and operates a website known as famtrips.travel (the
 2
     “Website”).
 3

 4         4.      Defendant, without permission or authorization from Plaintiff actively

 5   copied, stored, and/or displayed Plaintiff's Photograph on the Website and engaged
 6
     in this misconduct knowingly and in violation of the United States copyright laws.
 7

 8                                       PARTIES
 9         5.      Plaintiff Laura Longwell is an individual who is a citizen of the State

10   of Pennsylvania and maintains a principal place of business at 427 Ellerslie Avenue,
11
     Ambler in Montgomery County, Pennsylvania.
12

13         6.      Upon information and belief, Defendant Travel Industry Education

14   Services, LLC d/b/a Famtrips.travel, is a Florida limited liability company with a
15
     principal place of business at 22410 68th Avenue East, Bradenton in Manatee
16

17   County, Florida and is liable and responsible to Plaintiff based on the facts herein
18   alleged.
19

20                            JURISDICTION AND VENUE
           7.      This Court has subject matter jurisdiction over the federal copyright
21

22   infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
23         8.      This Court has personal jurisdiction over Travel Industry Education
24
     Services, LLC d/b/a Famtrips.travel because it maintains its principal place of
25

26   business in Florida.
27         9.      Venue is proper under 28 U.S.C. §1391(a)(2) because Travel Industry
28

                                                   2
                                        PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 3 of 9 PageID 3




 1   Education Services, LLC d/b/a Famtrips.travel does business in this Judicial District
 2
     and/or because a substantial part of the events or omissions giving rise to the claim
 3

 4   occurred in this Judicial District.

 5
                           FACTS COMMON TO ALL CLAIMS
 6         10.    Plaintiff is a professional photographer by trade who is the legal and
 7
     rightful owner of photographs which Plaintiff licenses to online and print
 8

 9   publications.

10         11.    Plaintiff has invested significant time and money in building Plaintiff's
11
     photograph portfolio.
12

13         12.    Plaintiff has obtained active and valid copyright registrations from the

14   United States Copyright Office (the “USCO”) which cover many of Plaintiff's
15
     photographs while many others are the subject of pending copyright applications.
16

17         13.    Plaintiff's photographs are original, creative works in which Plaintiff
18   owns protectable copyright interests.
19
            14.   Travel Industry Education Services, LLC d/b/a Famtrips.travel is the
20

21   registered owner of the Website and is responsible for its content.
22          15.   Travel Industry Education Services, LLC d/b/a Famtrips.travel is the
23
     operator of the Website and is responsible for its content.
24

25         16.    The Website is a popular and lucrative commercial enterprise.
26         17.    The Website is monetized in that it provides travel services to the public
27

28

                                                      3
                                           PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 4 of 9 PageID 4




 1   and, upon information and belief, Defendant profits from these activities.
 2
           18.       On May 7, 2013, Plaintiff authored a photograph of a horse drawn
 3

 4   carriage passing by the Hofburg Palace in Austria (the “Photograph”). A copy of the

 5   Photograph is attached hereto as Exhibit 1.
 6
            19.      Plaintiff applied to the USCO to register the Photograph on or about
 7

 8   September 17, 2019 under Application No. 1-8077068661.

 9          20.      The Photograph was registered by the USCO on September 17, 2019
10
     under Registration No. VA 2-172-286.
11

12          21.      On February 6, 2019 Plaintiff observed the Photograph on the Website.

13   A copy of the screengrab of the Website including the Photograph is attached hereto
14
     as Exhibit 2.
15

16          22. The            Photograph        was        displayed       at       URL:
17   https://famtrips.travel/FAMS/GrandeurEurope2018-
18
     19/GradeurEurope2018-19.html.
19

20          23. The             Photograph         was        stored       at        URL:
21   https://famtrips.travel/FAMS/GrandeurEurope2018-19/Day4.jpg.
22
            24.      Without permission or authorization from Plaintiff, Defendant
23

24   volitionally selected, copied, stored and/or displayed Plaintiff’s copyright protected
25   Photograph as is set forth in Exhibit “1” on the Website.
26
           25.       Upon information and belief, the Photograph was copied, stored and
27

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                                          PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 5 of 9 PageID 5




 1   displayed without license or permission, thereby infringing on Plaintiff's copyrights
 2
     (hereinafter the “Infringement”).
 3

 4         26.    The Infringement includes a URL (“Uniform Resource Locator”) for a

 5   fixed tangible medium of expression that was sufficiently permanent or stable to
 6
     permit it to be communicated for a period of more than a transitory duration and
 7

 8   therefore constitutes a specific infringement. 17 U.S.C. §106(5); Perfect 10, Inc. v.

 9   Amazon.com, Inc.508 F.3d 1146, 1160 (9th Cir. 2007).
10
           27.    The Infringement is an exact copy of the entirety of Plaintiff's original
11

12   image that was directly copied and stored by Defendant on the Website.

13         28.    Upon information and belief, Defendant takes an active and pervasive
14
     role in the content posted on its Website, including, but not limited to copying,
15

16   posting, selecting, commenting on and/or displaying images including but not
17   limited to Plaintiff's Photograph.
18
           29.    Upon information and belief, the Photograph was willfully and
19

20   volitionally posted to the Website by Defendant.
21         30.    Upon information and belief, Defendant is not registered with the
22
     United States Copyright Office pursuant to 17 U.S.C. §512.
23

24         31.    Upon information and belief, Defendant engaged in the Infringement
25   knowingly and in violation of applicable United States Copyright Laws.
26
           32.    Upon information and belief, Defendant has the legal right and ability
27

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                                                     5
                                          PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 6 of 9 PageID 6




 1   to control and limit the infringing activities on its Website and exercised and/or had
 2
     the right and ability to exercise such right.
 3

 4         33.    Upon information and belief, Defendant monitors the content on its

 5   Website.
 6
           34.    Upon information and belief, Defendant has received a financial benefit
 7

 8   directly attributable to the Infringement.

 9         35.    Upon information and belief, the Infringement increased traffic to the
10
     Website and, in turn, caused Defendant to realize an increase in its services revenues.
11

12         36.    Upon information and belief, a large number of people have viewed the

13   unlawful copies of the Photograph on the Website.
14
           37.    Upon information and belief, Defendant at all times had the ability to
15

16   stop the reproduction and display of Plaintiff's copyrighted material.
17         38.    Defendant's use of the Photograph, if widespread, would harm
18
     Plaintiff's potential market for the Photograph.
19

20         39.    As a result of Defendant's misconduct, Plaintiff has been substantially
21   harmed.
22

23                                       FIRST COUNT
                   (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
24

25         40.    Plaintiff repeats and incorporates by reference the allegations contained
26   in the preceding paragraphs, as though set forth in full herein.
27

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                                                    6
                                         PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 7 of 9 PageID 7




 1         41.    The Photograph is an original, creative work in which Plaintiff owns
 2
     valid copyright properly registered with the United States Copyright Office.
 3

 4         42.    Plaintiff has not licensed Defendant the right to use the Photograph in

 5   any manner, nor has Plaintiff assigned any of its exclusive rights in the copyrights
 6
     to Defendant.
 7

 8         43.    Without permission or authorization from Plaintiff and in willful

 9   violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
10
     illegally copied, stored, reproduced, distributed, adapted, and/or publicly displayed
11

12   works copyrighted by Plaintiff thereby violating one of Plaintiff's exclusive rights in

13   its copyrights.
14
           44.    Defendant's reproduction of the Photograph and display of the
15

16   Photograph constitutes willful copyright infringement. Feist Publications, Inc. v.
17   Rural Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
18
           45.    Plaintiff is informed and believes and thereon alleges that the
19

20   Defendant willfully infringed upon Plaintiff's copyrighted Photograph in violation
21   of Title 17 of the U.S. Code, in that they used, published, communicated, posted,
22
     publicized, and otherwise held out to the public for commercial benefit, the original
23

24   and unique Photograph of the Plaintiff without Plaintiff's consent or authority, by
25   using it in the infringing article on the Website.
26
           46.    As a result of Defendant's violations of Title 17 of the U.S. Code,
27

28

                                                    7
                                         PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 8 of 9 PageID 8




 1   Plaintiff is entitled to an award of actual damages and disgorgement of all of
 2
     Defendant's profits attributable to the infringement as provided by 17 U.S.C. § 504
 3

 4   in an amount to be proven.

 5         47.    As a result of Defendant's violations of Title 17 of the U.S. Code,
 6
     Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
 7

 8   copyright pursuant to 17 U.S.C. § 502.

 9
                                      JURY DEMAND
10
           48.    Plaintiff hereby demands a trial of this action by jury.
11
                          PRAYER FOR RELIEF
12         WHEREFORE Plaintiff respectfully requests judgment as follows:
13
           That the Court enters a judgment finding that Defendant has infringed upon
14

15   Plaintiff's rights to the Photograph in violation of 17 U.S.C. §501 et seq. and award

16   damages and monetary relief as follows:
17
                  a.    finding that Defendant infringed upon Plaintiff's copyright
18
19                      interest in the Photograph by copying and displaying without a
20                      license or consent;
21
                  b.    for an award of actual damages and disgorgement of all of
22

23                      Defendant's profits attributable to the infringement as provided
24                      by 17 U.S.C. § 504 in an amount to be proven;
25
                  c.    for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant
26

27                      from any infringing use of any of Plaintiff's works;
28

                                                   8
                                        PLAINTIFF'S COMPLAINT
      Case 8:22-cv-00232-VMC-AEP Document 1 Filed 01/28/22 Page 9 of 9 PageID 9




 1              d.    for costs of litigation against Defendant pursuant to 17 U.S.C. §
 2
                      505;
 3

 4              e.    for pre judgment interest as permitted by law; and

 5              f.    for any other relief the Court deems just and proper.
 6

 7

 8   DATED: January 27, 2022

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                                     PLAINTIFF'S COMPLAINT
